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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                              www.flsb.uscourts.gov


In re:

Tomas Diaz                                           Case No. 13-34261-RAM
Aka Fresh Fish Market and Fruit


Debtor.                                              Chapter 12
_______________________/


          RESPONSE TO MOTION REGARDING THE AUTOMATIC STAY
      COMES NOW THE DEBTOR, TOMAS DIAZ, by and through undersigned
counsel and moves this Honorable Court for an Order Denying the Creditor’s
Motion for Relief from Automatic Stay and require Creditor to disgorge any
monies it has wrongfully setoff against the Debtor’s Escrow Account, and in
support thereof, Debtor contends as follows:

                 DEBTOR PAYMENTS INACCURATELY ACCOUNTED FOR

         1.      The Property is fully provided for in the confirmed chapter 12 plan
                 and is subject to the Order Granting Motion to Value and
                 Determining Secured Status of Lien (DE 92).
         2.      In September 2017, as a result of Hurricane Irma, Debtor lost a
                 significant part of his cash crop, including fruit trees and livestock.
                 Consequently, Debtor has remitted partial payments to the creditor
                 since then.

         3.      In contrast to the Creditor’s Motion for Relief (“Motion”), Debtor has
                 made more payments to the creditor than the Motion accounts for.

         4.      To date, Debtor has paid $165,346 into the confirmed Chapter 11
                 Plan. The Creditor’s Motion does not reflect these payments.

                        ESCROW DISCREPANCY BY CREDITOR

         5.      In 2017, the Debtor maintained an Escrow Surplus of $279,979.63
                 (Attached “A”) with the Creditor, then serviced by Nationstar
                 Mortgage.
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      6.      In 2019, the Debtor’s Escrow Balance has a deficiency of
              $81,461.32 (Attached “B”), now serviced by Mr. Cooper.

      7.      The Debtor demands proof of how his Escrow Surplus was
              disbursed.

      8.      The Debtor is entitled to a set-off, or a refund of the Escrow
              Surplus, if the Creditor wrongfully setoff the Debtor’s Escrow
              Account.

WHEREFORE, Debtor, Tomas Diaz, respectfully requests that this Court deny
the Motion for Relief from Stay filed by Creditor, Deutsche Bank Trust Company,
and require Creditor to disgorge any monies it has wrongfully setoff against the
Debtor’s Escrow Account.

Date: December 11, 2019
                                                          /s/ Aramis Hernandez
                                                     ARAMIS HERNANDEZ, ESQ.
                                                             -Attorney for Debtor-
                                                           Florida Bar No. 62205
                                                               Miami Legal Center
                                                              th
                                                    600 NE 27 Street, Suite 1904
                                                            Miami, Florida 33137
                                                                 Ph: 305.374.7744
                                                  Aramis@MiamiLegalCenter.com
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